                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      CASE NO. 3:12-00137
                                                    )      JUDGE SHARP
WILLIAM ALLEN MARTIN, et al                         )
                                                    )


                                           ORDER

         Pending before the Court is United States’ Motion to Continue Plea Hearings (Docket

94) to which is unopposed.

         The motion is GRANTED and the sentencings set for May 10, 2013, are hereby reset for

Monday, July 8, 2013, at 10:00 a.m.

         It is so ORDERED.



                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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